         CASE 0:22-cr-00040-JRT-LIB         Doc. 143     Filed 10/28/24     Page 1 of 3




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA
                             Criminal No.: 22-40 (JRT/LIB)(1)



 UNITED STATES OF AMERICA,                   )
                                             )
                               Plaintiff,    )
 vs.                                         )      DEFENDANT’S MOTION IN LIMINE
                                             )       TO EXCLUDE 404/609 EVIDENCE
 HARSHKUMAR PATEL,                           )            OF PAST BAD ACTS
                                             )
                                             )
                            Defendant.       )
                                             )


On October 21, 2024, the government gave notice of its intent to offer evidence that Mr.

Patel:

         1. Smuggled Individuals Across the United States/Cananda Border and
            Transported them within the United States of Four Occasions Preceding January
            19, 2022; and

         2. Possessed a Fraudulent Maryland Driver’s License.

         See also Government’s Motion (ECF 122).

         Mr. Patel, through counsel, moves to prohibit this evidence because the evidence is

not intrinsic to the crime charged in this case. A bad act is intrinsic when the act itself is

part of the charged offense. See United States v. Maxwell, 643 F.3d 1096, 1100 (8th Cir.

2011)(citation omitted). Intrinsic evidence can provide “the context in which the charged

crime occurred.” See United States v. Johnson, 463 F.3d 803, 808 (8th Cir. 2006). It can

complete the story of the crime or logically prove one or more elements of the crime

charged. United States v. Vaca, 38 F.4th 718, 721 (8th Cir. 2022)(quoting United States v.
       CASE 0:22-cr-00040-JRT-LIB            Doc. 143      Filed 10/28/24     Page 2 of 3




Jackson, 913 F.3d 789, 792 (8th Cir. 2019)(quotations omitted)). This evidence fails to meet

any of the above-mentioned thresholds for admissibility.

       All the referenced events are not relevant to whether Mr. Patel was involved in the

smuggling of individuals across the United States/Canadian Border on January 19, 2022.

       In addition to relevance, the alleged acts must pose some probative value that is not

substantially outweighed by its prejudicial value. See United States v. Bass, 794 F.2d 1305,

1313 (8th Cir. 1986), cert. denied, 479 U.S. 869 (1986)(citing Fed. R. Evid. 403).

       The proffered evidence is not admissible under Rule 404(b). Rule 404(b) provides

that past bad acts evidence is only admissible if: “(1) it is relevant to a material issue; (2) is

similar in kind and not overly remote to the crime charged; (3) it is supported by sufficient

evidence; and (4) its potential prejudice does not substantially outweigh its probative

value.” See United States v. Nyah, 35 F.4th 1100, 1108 (8th Cir. 2022), cert. denied, 143 S.Ct.

389, 214 L.Ed.2d 190 (2022)(internal quotation marks omitted). Other bad acts not part of

the charged offense are inadmissible to prove a person’s character or propensity to commit

a crime in accordance with that character. United States v. Johnson, 439 F.3d 884, 887 (8th

Cir. 2006)).

       Finally, the fact that Mr. Patel allegedly possessed a fraudulent driver’s license is in

no way relevant to the fact of the case at bar. There is no causal relationship to whether Mr.

Patel committed the crimes with which he has been charged.

       Because the proffered evidence fails to meet the standards for admissibility, it must

be excluded. Mr. Patel respectfully asks this Court to exclude this evidence.
         CASE 0:22-cr-00040-JRT-LIB   Doc. 143   Filed 10/28/24       Page 3 of 3




                                            Respectfully submitted,

Dated:       October 28, 2024               /s/ Thomas More Leinenweber
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